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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER GRANTING MOTION TO
                                                    EXCLUDE EXPERT HAMID
   Gonzalez v. Monsanto Co.,
   Case No. 3:20-cv-06198-VC                        Re: Dkt. No. 17610




         Monsanto’s motion to exclude the testimony of Dr. Omid Hamid in the Gonzalez case is

granted. This order assumes a familiarity with the Court’s prior orders on general and specific

causation and the Ninth Circuit’s opinion in Hardeman. See generally, e.g., In re Roundup

Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt.

No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D. Cal. 2019)

(Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Co., 997 F.3d 941 (9th Cir.
2021).

         Dr. Hamid is the Chief of Translational Research & Immuno-Oncology and Director of

Cutaneous Malignancies at the Angeles Clinic and Research Institute in Los Angeles, California.

See Hamid CV, Def.’s Ex. A (Dkt. No. 17610-2) at 2. He is also the Director of Experimental

Therapeutics at the Cedars-Sinai Medical Care Foundation in Santa Monica, California, and

holds an appointment as Professor in the Department of Medicine at the Cedars Sinai Medical

Center. See id. at 3.
         In its motion, Monsanto attacks both Dr. Hamid’s qualifications and his opinion.
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Regarding Dr. Hamid’s qualifications, Monsanto highlights short excerpts of his deposition

transcript as “troubling” proof of his lack of expertise. These arguments mostly fall flat. Dr.

Hamid’s testimony that “no medical oncologist, hematologist, physician in any way can indicate the

true cause of cancer in a patient” is not the smoking gun Monsanto thinks it is. See Hamid Dep.,

Def.’s Ex. B (Dkt. No. 17610-3) at 86:14–20. It would be more concerning for a trained doctor to

claim they could conclude with certainty the exact cause of a patient’s cancer than it is for Dr. Hamid

to admit he can’t. Differential etiology and causation in general are complex concepts that eschew

easy precision. Accordingly, the law on causation doesn’t require “certainty,” as Monsanto suggests,

but rather that the expert identify the “most likely cause” of a plaintiff’s cancer. See Wendell v.

GlaxoSmithKline LLC, 858 F.3d 1227, 1234 (9th Cir. 2017). Monsanto’s arguments that Dr. Hamid

doesn’t understand the difference between dose and exposure similarly reflect narrow and

unflattering excerpting of his testimony rather than more fundamental issues with his credentials.

        The real issue with Dr. Hamid as an expert is his methodology. Or more accurately, his lack

of methodology. In fewer than 140 words, Dr. Hamid’s “report” essentially says the following: the

plaintiff was exposed to Roundup, and there is evidence that “lymphoma can be related to Roundup.”

See Hamid Report, Def.’s Ex. A (Dkt. No. 17610-2) at 1. The report says nothing about whether

the plaintiff’s exposure caused his lymphoma (a type of non-Hodgkin’s lymphoma called

Waldenstrom macroglobulinemia), nor even that exposure to Roundup can cause lymphoma, merely

that glyphosate “is thought to have harmful effects on human health” and has “carcinogenic

potential.” Id. In two brief references, Dr. Hamid vaguely mentions “multiple studies” and “animal

and mechanistic studies,” without explaining what those studies are, what they specifically found,

how they came to their findings, or how he relied on them. Id.

        Even if one could construe Dr. Hamid’s seven cautiously caveated sentences as meaningfully

articulating a causation opinion, Dr. Hamid provides no basis for how he arrived at it. There are no

allusions to the opinions of general causation experts, no explanation of other risk factors, no

calculation or estimation of the plaintiff’s exposure. Dr. Hamid does not attempt to “rule in” potential

causes of the plaintiff’s lymphoma, nor “rule out” any implausible alternative causes. In short, Dr.


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Hamid’s report is not science.

        Dr. Hamid’s deposition testimony does nothing to resuscitate his deficient report. In it, he

says that he reviewed six articles to prepare for his deposition, which the plaintiff says Dr. Hamid

“relied upon to make his determinations.” Opp. (Dkt. No. 26, Case No. 3:20-cv-06198-VC) at 3:12–

13. Presumably, these are articles that would tend to “rule in” Roundup as a cause of lymphoma. But

as far as the Court has been able to find, these articles are not identified anywhere, including in Dr.

Hamid’s report.1 Some of the articles are identified by title in Monsanto’s deposition questioning and

some are identified by author but not comprehensively. By failing to describe what these articles are

and how they informed Dr. Hamid’s opinion, Gonzalez is asking the Court to just take Dr. Hamid’s

word for it that his cancer is related to his use of Roundup.

        If the total lack of a scientific basis for Dr. Hamid’s “methodology” wasn’t enough to

exclude his opinion, the way he conducted his “analysis” adds another nail to the coffin. When asked

about other risk factors for lymphoma, like age, gender, and obesity, Dr. Hamid admitted that they

can confound causation analysis but that he hadn’t performed any research on how those factors

relate to Waldenstrom lymphoma. See Hamid Dep., Def.’s Ex. B (Dkt. No. 17610-3) at 79:12–80:10,

81:1–8. And, as the deposition transcript shows, Gonzalez is male, was 62 when he was diagnosed,

and was obese. Id. at 79:17–24; 207:8–17. Dr. Hamid testified that all of these are risk factors for

lymphoma, and that he didn’t consider any of them. Because Dr. Hamid’s opinion provides no basis

for his apparent conclusion that other potential causes of the plaintiff’s lymphoma were “ruled out,”

it must be excluded.

        Monsanto has not filed a motion for summary judgment in this case, but it appears that

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  The Federal Rules require that an expert report contain “the facts or data considered by the
witness.” Fed. R. Civ. P. 26(a)(2)(B)(ii). If Dr. Hamid relied on these articles to draft his report, he
was required to list them in the report, which he failed to do. But to be fair, it’s not even clear that
Dr. Hamid did rely on these articles. In his deposition, when asked whether he reviewed them before
he prepared his report, Dr. Hamid said “I did. I would say most of them I had before I prepared the
report, yes. I can’t tell you which ones or which ones not, but yes, you know, I would say that the
articles are repetitive in what they present and what they discuss.” Hamid Dep., Def.’s Ex. B (Dkt.
No. 17610-3) at 41:11–18. It should go without saying that this description does not inspire
confidence that Dr. Hamid reviewed these six articles before drafting his report, or that he
approached the report with any sense of scientific rigor.


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summary judgment should be granted given the absence of any expert testimony on specific

causation. The parties should file a letter within seven days of this ruling which states whether, in

light of this ruling, the Court should file a suggestion of remand or enter summary judgment for

Monsanto based on the absence of expert testimony on specific causation.

        IT IS SO ORDERED.

Dated: September 19, 2024
                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge




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